      Case 1:25-cv-00072      Document 59        Filed on 05/01/25 in TXSD        Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                            UNITED STATES DISTRICT COURT                                   May 01, 2025
                             SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                BROWNSVILLE DIVISION

J.A.V., et al.,                                  §
                                                 §
         Petitioners,                            §
                                                 §
VS.                                              §   CIVIL ACTION NO. 1:25-CV-072
                                                 §
DONALD J. TRUMP, et al.,                         §
                                                 §
         Respondents.                            §

                  FINAL JUDGMENT AND PERMANENT INJUNCTION

         In accordance with the Court’s Order and Opinion granting class certification (Doc. 57)

and its Order and Opinion granting summary judgment (Doc. 58), the Court enters final judgment

in favor of Petitioners J.A.V., J.G.G., W.G.H., and the members of the certified class. Accordingly,

it is:

         ORDERED that the Class Petition for Writ of Habeas Corpus (Doc. 1) is GRANTED; and

         ORDERED that Respondents are permanently enjoined from detaining, transferring, or

removing J.A.V., J.G.G., W.G.H., and the members of the certified class, under the Alien Enemies

Act, 50 U.S.C. § 21, and based on the Presidential Proclamation, “Invocation of the Alien Enemies

Act Regarding the Invasion of the United States by Tren de Aragua,” 90 Fed. Reg. 13033.

         This permanent injunction does not prohibit Respondents from proceeding with removal

proceedings or otherwise acting against J.A.V., J.G.G., W.G.H., and the members of the certified

class, based on the Immigration and Nationality Act, including under any final order of removal.

         This Final Judgment and Permanent Injunction does not enjoin Respondent Donald

Trump in his official duties as President of the United States. See Franklin v. Massachusetts, 505

U.S. 788, 802 (1992).

         Signed on May 1, 2025.
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                                                     Fernando Rodriguez, Jr.
                                                     United States District Judge
1/1
